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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MOHAMMED AL-QAHTANI,

       Petitioner,

       v.                                            Case No. 05-CV-1971 (RMC)

DONALD J. TRUMP, et al.,

       Respondents.


                          MOTION TO COMPEL EXAMINATION
                          BY A MIXED MEDICAL COMMISSION

       Petitioner Mohammed al-Qahtani has spent the last 15 years in custody at the U.S. Naval

Station in Guantánamo Bay, Cuba (“Guantánamo”). By the time he arrived he had a long history

of severe mental health problems, including a diagnosis of psychosis during an involuntary

psychiatric hospitalization in Saudi Arabia less than two years before he was first brought to

Guantánamo. While at Guantánamo he was tortured with the complicity of mental health experts.

His indefinite imprisonment at the military prison has gravely diminished his mental and

physical health, and precludes any chance for recovery or effective treatment while there.

       Mr. al-Qahtani respectfully moves the Court to compel Respondents to facilitate his

examination by a Mixed Medical Commission, which would further establish his entitlement to

direct repatriation pursuant to the terms of Army Regulation 190-8, Section 3-12. Dep’t of the

Army, Army Reg. 190-8, Enemy Prisoners of War, Retained Personnel, Civilian Internees, and

Other Detainees, ch.3, § 12 (Oct. 1, 1997).

       In Aamer v. Obama, 58 F. Supp. 3d 16 (D.D.C. 2014), this Court held that a similarly-

situated Guantánamo prisoner who had not requested repatriation nor been examined by a Mixed
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Medical Commission had not established his entitlement to direct repatriation pursuant to U.S.

domestic law, namely Army Regulation 190-8. In keeping with this Court’s reasoning, Mr. al-

Qahtani followed the process outlined in the Regulation by formally applying to the Department

of Defense for repatriation and, alternatively, requesting an examination by a Mixed Medical

Commission.1 See Pet’r’s Letter (Apr. 28, 2017), attached as Ex. A (“Pet’r’s Letter”). This Court

then directed Respondents to promptly indicate when a response would be forthcoming. Minute

Order (June 7, 2017). The government denied all parts of Mr. al-Qahtani’s request on June 30,

2017. Resp’ts’ Letter (June 30, 2017), ECF No. 367-1, attached as Ex. B (“DOJ Letter”). In

response, this Court ordered that, “[i]n light of [the] Government’s letter to Petitioner dated June

30, 2017, if Petitioner wishes to pursue the matter, Petitioner shall file a motion to compel, or

other pleading, no later than August 8, 2017.” Minute Order (July 11, 2017).

         Accordingly, Mr. al-Qahtani now respectfully moves the Court to compel Respondents to

facilitate his examination by a Mixed Medical Commission.2 A Mixed Medical Commission is

typically comprised of two members from a neutral country and a medical officer of the U.S.

Army selected by the Department of the Army Headquarters. See Army Reg. 190-8, ch. 3, §

12(2). But because the conflict that gave rise to Mr. al-Qahtani’s present captivity may or may

not have been a conventional war between nations, there may be no “neutral nations” in this

context. See, e.g., Pet’r’s Letter at 3.


1
          Under the Regulation, it is unambiguous that Respondents may repatriate Mr. al-Qahtani and thereby
“[r]elieve the Mixed Medical Commission of the need to visit…patients who are eligible for direct repatriation,”
such as him. Army Reg. 190-8, ch. 3, § 12(k)(2). The Regulation states that enemy prisoners of war are eligible for
direct repatriation if they are “[s]ick or wounded” and their “conditions have become chronic to the extent that
prognosis appears to preclude recovery in spite of treatment within [one] year from inception of disease or date of
injury.” Army Reg. 190-8, ch.3, § 12(l)(2). If Respondents refuse to exercise their discretion to directly repatriate Mr.
al-Qahtani, then a Mixed Medical Commission would confirm that he satisfies the criteria for repatriation under
domestic U.S. law so that he may be released and adequately treated.
2
          Domestic U.S. law requires that the “[c]ommanders concerned will assist, facilitate, and expedite the
operations of the Commission to the fullest extent.” Army Reg. 190-8, ch.3, § 12(g).


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        Thus, in conformity with domestic law, Mr. al-Qahtani’s undersigned counsel propose the

designation of Dr. Emily Keram, his most recent and only independent medical examiner,

alongside another security-cleared civilian U.S. medical expert and an expert from the U.S.

military to form the Mixed Medical Commission. Mr. al-Qahtani is entitled to the relief sought

herein pursuant to the All Writs Act or in the form of an injunction.3

                                              BACKGROUND

        Mohammed al-Qahtani, a Saudi Arabian national, has been imprisoned at Guantánamo

since February 2002. It is well known that he was tortured in U.S. custody at Guantánamo. In

fact, he is the only prisoner there whose torture has been formally acknowledged by a senior U.S.

government official. In 2009, Susan J. Crawford, then the Convening Authority in charge of the

U.S. Department of Defense’s Military Commissions, explained that she had refused to authorize

Mr. al-Qahtani’s capital trial by military commission in 2008 because “we tortured Qahtani.”4

The torture left Mr. al-Qahtani in a “life-threatening condition,” again by Crawford’s admission.

He was hospitalized twice during his interrogation at Guantánamo because he was on the brink

of heart failure and death.

        What is not well known, however, is that long before Mr. al-Qahtani was taken into U.S.

custody, he suffered from a number of severe psychiatric disabilities. These are documented in

detail in the reports of the expert witness in this matter, Dr. Emily A. Keram. Dr. Keram, an

independent medical expert, spent 39 hours evaluating Mr. al-Qahtani from May 22 through May

27, 2015, and an additional 30 hours from January 22 to January 27, 2017. Her report, together



3
          Pursuant to Local Civ. R. 7(m), undersigned counsel contacted Respondents’ counsel to seek their consent
to the relief sought herein. On July 31, 2017, Respondents’ counsel informed undersigned counsel that Respondents
would oppose the instant Motion.
4
          Bob Woodward, Guantanamo Detainee Was Tortured, Says Official Overseeing Military Trials, The
Washington Post (Jan. 14, 2009) (quoting Susan J. Crawford), available at http://www.washingtonpost.com/wp-
dyn/content/article/2009/01/13/AR2009011303372.html [hereinafter “Washington Post”].

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with its supplemental declarations, is based on extensive conversations with Mr. al-Qahtani at

Guantánamo, on telephonic interviews with his family in Saudi Arabia, and on her review of

records of an involuntary psychiatric hospitalization in 2000 that were independently obtained by

his legal team. See Report of Dr. Emily A. Keram (June 5, 2016), attached as Ex. C (“Keram

Report”); Supplemental Declaration of Emily A. Keram, MD (July 12, 2016), attached as Ex. D

(“Keram Supp. Decl.”); Supplemental Declaration of Emily A. Keram, M.D. (Dec. 2, 2016),

attached as Ex. E (“Keram File Rev. Decl.”).

       As Dr. Keram attests in her report, Mr. al-Qahtani suffered from schizophrenia, major

depression, and a possible neurocognitive disorder due to a traumatic brain injury. Keram Report

at 3. He was mentally ill not only prior to his imprisonment and torture at Guantánamo but also

long before the period of time when he is alleged to have participated in criminal acts. Id. at 3-5.

       Mr. al-Qahtani developed psychotic symptoms in his childhood, which worsened as he

grew into his teens and twenties. Id. at 3. His mental troubles trace back to a string of traumatic

brain injuries, beginning with one sustained in a car accident when he was only eight years old.

Id. at 5. His family recalled “episodes of extreme behavioral dyscontrol” over the years,

including one when the Riyadh police contacted the family because they had found Mr. al-

Qahtani naked in a garbage dumpster, spells of “auditory hallucinations,” and an incident where

Mr. al-Qahtani threw a new cellular phone out of a moving car because he believed it was

affecting his mind. Id. at 3-4.

       These symptoms persisted and, in late-May of 2000, Mr. al-Qahtani was involuntarily

committed in Mecca for “an acute psychotic break.” Medical records from the hospitalization

reviewed by Dr. Keram reveal that Mr. al-Qahtani was involuntarily committed to the psychiatric

unit of a hospital for a period of days after local police arrested him as he was attempting to



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throw himself onto moving traffic. According to the hospital medical records, Mr. al-Qahtani

expressed suicidal wishes, and was given antipsychotic medication. Id. at 4.

       The symptoms continued through his detention at Guantánamo. Id. at 6-7. Even before

his exposure to the full array of torture techniques described in the specially-approved “First

Special Interrogation Plan” to which he was subjected, U.S. government officials acknowledged

behaviors consistent with psychosis, such as talking to nonexistent people. An FBI Deputy

Assistant Director reported to the Army that in November 2002 he observed a detainee, later

identified as Mr. al-Qahtani, exhibiting “behavior consistent with extreme psychological trauma

(talking to non-existent people, reportedly hearing voices, crouching in a corner of the cell

covered with a sheet for hours on end).” See Letter re: Suspected Mistreatment of Detainees,

from T.J. Harrington, Dep. Asst. Dir., Counterterrorism Division, FBI, to Maj. Gen. Donald R.

Ryder, Criminal Investigation Command, Dept. of the Army (July 14, 2006).

       Dr. Keram found that “Mr. al-Qahtani’s pre-existing psychotic, mood, and cognitive

disorders made him particularly vulnerable to […] the conditions of confinement and

interrogation” his U.S. captors inflicted on him at Guantánamo under the guise of the “First

Special Interrogation Plan.” Keram Report at 6. In fact, according to Dr. Keram, the combination

of solitary confinement, sleep deprivation, extreme temperature and noise exposure, stress

positions, forced nudity, body cavity searches, sexual assault and humiliation, beatings,

strangling, threats of rendition, and water-boarding, amounting to “severely cruel, degrading,

humiliating, and inhumane treatment” that Mr. al-Qahtani endured would have profoundly

disrupted and left long-lasting effects on a person’s sense of self and cognitive functioning “even

in the absence of pre-existing psychiatric illness.” Id. at 6-7.




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       Applied to Mr. al-Qahtani, the torture and conditions of his confinement at Guantánamo

were nothing short of devastating, exacerbating his pre-existing psychological ailments. Besides

taxing him physically to the point that he was on the brink of death and had to be hospitalized

twice, they caused “psychotic symptoms” that included repeated hallucinations involving ghosts

and frequent encounters with a talking bird. Id. at 6. Mr. al-Qahtani also often soiled himself,

cried uncontrollably, and conversed with himself and with others who were not present. Id. at 6-

7.

                             PRESENT MEDICAL CONDITIONS

       Today, Mr. al-Qahtani’s condition is exactly as one would expect for a man who suffered

from severe psychiatric illness before being subjected to a systematic and brutal program of

physical and psychological torture. Dr. Keram has diagnosed Mr. al-Qahtani with moderate to

severe Post-Traumatic Stress Disorder (“PTSD”) together with other serious psychological and

physical ailments. See Keram Report at 3, 7. “In addition to Mr. al-Qahtani’s pre-existing

psychiatric diagnoses,” which have not subsided, Dr. Keram concludes, “he has developed

posttraumatic stress disorder (PTSD)” resulting from his torture, interrogation, and

imprisonment. Id. at 7. As a doctor with the U.S. Department of Veteran Affairs who has treated

patients with PTSD secondary to both combat stress and Prisoner of War confinement for the

past 14 years, Dr. Keram found that Mr. al-Qahtani’s PTSD symptoms are not only “consistent

with those exhibited by survivors of torture,” but also that they “have been present for years.” Id.

       Given the present state of Mr. al-Qahtani’s mental health, Dr. Keram believes that he

“will likely require lifelong mental health care,” at least initially in an “inpatient or residential”

setting. In her view, “appropriate treatment” of Mr. al-Qahtani’s complex condition “requires a




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culturally-informed multi-disciplinary approach” that would include “supportive psychotherapy,

cognitive-behavioral therapy, skills-based therapy, and psychotropic medication.” Id. at 8.

       Crucially, Dr. Keram concludes “that Mr. al-Qahtani cannot receive effective treatment

for his current mental health conditions while he remains in U.S. custody at GTMO or elsewhere,

despite the best efforts of available and competent clinicians.” Id. at 9. Among the factors

precluding effective treatment of Mr. al-Qahtani’s mental illnesses in U.S. custody is his lack of

trust in medical and mental health personnel at Guantánamo owing to their predecessors’

involvement in his interrogations and torture. Id. Also, Dr. Keram finds that, “given the unique

role of family in Mr. al-Qahtani’s previous episodes of psychiatric illness, it is imperative that his

family members actively participate in his treatment.” Id.; see also Keram Supp. Decl. ¶¶ 4-5;

Keram File Rev. Decl. ¶ 8.

       Dr. Keram’s conclusion, therefore, is that Mr. al-Qahtani would receive effective

treatment if he is repatriated to the Kingdom of Saudi Arabia. Id. The Saudi Ministry of Interior’s

custodial rehabilitation and aftercare program for former Guantánamo prisoners would provide

Mr. al-Qahtani with the medical attention he direly needs on an inpatient basis, while access to

his family would complement his treatment. To that end, we have provided a written assurance

from the Saudi Ministry of Interior to a U.S. government interagency Periodic Review Board,

offering security and humane treatment guarantees regarding Mr. al-Qahtani and expressing its

readiness to welcome him in its rehabilitation and aftercare program. See Letter from

Mohammed A. Al-Muttairi, Director-General of Legal Affairs & International Cooperation,

Ministry of the Interior, Kingdom of Saudi Arabia to the Periodic Review Board, Request for

transfer of detainee at Guantanamo Bay Detention Center: Mohammed M. Al-Qahtani (Aug. 16,

2015), attached as Ex. F.



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        Dr. Keram’s diagnosis and prognosis indicate that Mr. al-Qahtani meets the requirements

for repatriation under domestic law: his physical and psychiatric conditions have become

“chronic to the extent that prognosis appears to preclude recovery in spite of treatment within 1

year from inception of disease or date of injury.” Army Reg. 190-8, ch.3, § 12(l). Although Mr.

al-Qahtani presently can be convinced to accept medication from Joint Medical Group doctors,

medication can only be “helpful in improving the frequency and intensity of some of his

symptoms.” See Keram Supp. Decl. ¶ 6; Keram File Rev. Decl. ¶¶ 9-10. Medication “would

likely need to be increased over time and would only be considered palliative,” id. at ¶ 10; absent

“multi-modal treatment for his … PTSD and schizophrenia” he will not experience any

meaningful recovery and is “highly likely…to experience episodic worsening of his symptoms as

his indefinite detention continues.” Keram Supp. Decl. ¶ 6. Mr. al-Qahtani’s prognosis includes a

continuous treatment plan that “will likely require lifelong mental health care.” See Keram

Report at 8-9. His condition will not significantly improve so long as he remains imprisoned at

Guantánamo, warranting prompt repatriation. Id.

        Dr. Keram’s evaluation is consistent with this Court’s own conclusion several years ago

that “Petitioner is currently incompetent and unable to assist effectively in this case,”5 and, in

and of itself, provides sufficient basis for Mr. al-Qahtani’s repatriation. 6 If her findings are

deemed insufficient, then it is necessary that a Mixed Medical Commission be permitted to

confirm that Mr. al-Qahtani satisfies the criteria for repatriation under the Regulation so that he

may be released and adequately treated.




5
        Minute Order (Apr. 20, 2012).
6
        Commanding officers may complete a Certificate of Direct Repatriation to relieve the Mixed Medical
Commission of the need to visit enemy prisoners of war patients who are eligible for direct repatriation. See Army
Reg. 190-8, ch.3, § 12(k)(2).

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                                          ARGUMENT

       I.      Respondents Disregard This Court’s Ruling by Refusing to Treat Mr. al-
               Qahtani as an “Other Detainee” Pursuant to Army Regulation 190-8

       This Court has noted that “the manner in which Army Regulation 190-8 may apply to any

particular detainee turns on that person’s designation.” Aamer v. Obama, 58 F. Supp. 3d 16, 21

(D.D.C. 2014), In analyzing Aamer’s designation, the Court referred to the Regulation’s

definition of an “other detainee” as a person in the custody of U.S. Armed Forces who does not

fall into any of the designations enumerated in the Regulation and who shall therefore be treated

as an enemy prisoner of war until a legal status is ascertained by a competent authority. Id. at 21-

22. Until the legal status of an “other detainee” is determined by a competent authority, he or she

“shall be treated as [an enemy prisoner of war].” Id. at 22; see also Regulations, at Glossary,

Section II – Terms.

       The Court weighed Aamer’s contention that he is an “other detainee” against

Respondents’ contention that a 2004 Combatant Status Review Tribunal designation of Aamer as

an enemy combatant “precludes him from being treated as an ‘other detainee.’” Aamer, 58 F.

Supp. 3d at 25. The Court found that “Petitioner’s logic has some force: while a CSRT

designated him an ‘enemy combatant,’ that classification is not recognized in Army Regulation

190-8.” Id. at 24. Moreover, the Court found “questionable” Respondents’ contention and their

reliance on a dated classification of Aamer as an “enemy combatant.” Id. at 25. The more recent

Periodic Review Board does not make any formal determination of a detainee’s status, as

“enemy combatant” or any other novel category, and even if it did those classifications would

likewise have no relevance under Army Regulation 190-8. In both Aamer and this case, as this

Court aptly noted, “Respondents put more weight on ‘enemy combatant’ than the term can bear.”

Id.

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        Disregarding this Court’s precedent, Respondents in their letter refuse to recognize Mr.

al-Qahtani’s status as an “other detainee.” See DOJ Letter 2. Mr. al-Qahtani, who has now taken

the steps outlined in this Court’s ruling in Aamer, and who does not fall within any of the

Regulation’s enumerated designations, remains an “other detainee” under domestic law and, as

such, is entitled to the protections afforded an enemy prisoner of war. Respondents cannot

simply ignore the Court’s clear direction and must not be allowed to keep Mr. al-Qahtani from

further establishing his entitlement to repatriation under domestic law.

        II.      Examination by a Mixed Medical Commission Would Further Establish Mr.
                 al-Qahtani’s Entitlement to Repatriation

        Under domestic law, Mr. al-Qahtani must be allowed to explicitly establish his

entitlement to direct repatriation in one of two ways. First, Respondents can authorize direct

repatriation based on his current medical condition and Dr. Keram’s findings. See Army Reg.

190-8, ch. 3, § 12(k)(2). Second, as this Court suggested in Aamer, Mr. al-Qahtani can “follow

the process outlined in Army Regulation 190-8” by requesting a Mixed Medical Commission.

Aamer, 58 F. Supp. 3d at 26. An examination by a Mixed Medical Commission would then lead

Respondents to effectuate Mr. al-Qahtani’s direct repatriation—or this Court to order it.

        In keeping with the process laid out in the Regulation and this Court’s earlier ruling, Mr.

al-Qahtani has directly requested repatriation or, alternatively, a Mixed Medical Commission

evaluation. See Pet’r’s Letter 1-2. Respondents begin and end their letter objecting to the relief

Mr. al-Qahtani has requested by noting that their Periodic Review Board “considered” his

“mental health [as] a factor” during his June 16, 2016 hearing, after which the Board declined to

approve him for release.7 Like the Combatant Status Review Tribunals, Administrative Review



7
       On February 22, 2017, in a subsequent file review, the Board denied Mr. al-Qahtani a second full hearing.
DOJ Letter at 1. A File Review is based on paper submissions to the Periodic Review Board and designed to

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Boards, and Bagram Detainee Review Boards that preceded them, Respondents’ Periodic Review

Boards have no specific medical or psychiatric expertise to draw upon. The Board consists of

representatives of six agencies—“one senior official from the Departments of Defense,

Homeland Security, Justice, and State; the Joint Staff, and the Office of the Director of National

Intelligence.”8 However, none of them need be a mental health or medical professional or have

any expertise in the field.9 In this regard, the Board stands in sharp contrast with the design of the

Mixed Medical Commission, which consists entirely of medical experts. See Army Reg. 190-8,

ch. 3, § 12(a)(2).

         The Periodic Review Board is tasked with determining only whether “[c]ontinued law of

war detention is warranted … [as] necessary to protect against a continuing significant threat to

the national security of the United States.” See DTM 12-005, Att. 3 (Periodic Review Procedures

and Process), § 3. What that determination consists of is ultimately left entirely to the discretion

of the Board. See id. § 1 (PRB process reviews “continued discretionary exercise of existing

detention authority”); id. § 1(b) (PRB process is “instituted as a matter of [executive] discretion”

and may be suspended or amended at any time by President); id. at § 4(a) (PRB makes not legal

but “discretionary determinations” about the threat posed by detainee). Indeed, consideration of

mental health issues is discretionary: the Board “may” consider “[t]he detainee’s physical and

psychological condition,” but need not. Id. § 3(b)(6).



evaluate if “a significant question is raised as to whether the detainee’s continued detention is warranted,” in which
case a second full PRB hearing is convened early.
8
         See About the PRB, available at http://www.prs.mil/About-the-PRB/.
9
         See DTM 12-005, Implementing Guidelines for Periodic Review of Detainees Held at Guantanamo Bay per
Executive Order 13567 [hereinafter “DTM 12-005”], Att. 3 (Periodic Review Procedures and Process), § 5(a)(1)
(May          9,        2012),          available        at        http://www.prs.mil/Portals/60/Documents/DTM-12-
005_Implementing_Guidelines_for_Periodic_Review_of_Detainees_Held_at.pdf. See also id. § 5(b) (Periodic
Review Secretariat (PRS) shall support board with operations and legal staff, but not mentioning experts); id. § 5(c)
(Analytic Task Force shall consist of representatives of the six agencies with “appropriate intelligence,
counterterrorism, military, diplomatic, or legal expertise,” again not mentioning medical, psychological or scientific
expertise).

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       In contrast, the Mixed Medical Commission makes determinations as to “eligibility …

for repatriation or accommodation in a neutral country during hostilities” based on whether the

detainee is “sick or wounded.” See Army Reg. 190-8, ch. 3, § 12(a); see also id. § 12(a)(2) (“The

purpose of the Commission will be to determine cases eligible for repatriation.”); id. § 12(c)(3)

(Mixed Medical Commission shall “[d]etermine those cases eligible for repatriation or

hospitalization in a neutral country”); id. § 12(f) (“The United States will carry out the decisions

of the Mixed Medical Commission as soon as possible and within 3 months of the time after it

receives due notice of the decisions.”). Its determination, in short, is based on the health status of

the detainee and not on some broader, abstract concept of the threat posed by his repatriation.

       Putting to one side the question whether the PRB has expertise sufficient to the task of

evaluating medical entitlement to repatriation, the PRB is “not recognized in Army Regulation

190-8,” Aamer, 58 F. Supp. 3d at 24, as noted above, nor can it displace, limit, or alter that to

which Mr. al-Qahtani is entitled under the domestic law provisions of Army Regulation 190-8.

Unlike the PRB, a Mixed Medical Commission decides on “eligibility…for repatriation” under

domestic law. That determination can in turn underpin habeas relief. Respondents have taken the

position in other habeas cases (one of them before this very Court) that the fact of PRB clearance

provides no support for habeas relief because the Board’s decision that a detainee is “eligible for

transfer” is discretionary, not based on the legality of detention, and that “eligibility” is subject to

a subsequent second discretionary decision to effectuate transfer by the Secretary of Defense.

See, e.g., Resp’ts’ Resp. to Order to Show Cause and in Opp’n to Pet’r’s Emergency Mot. for

Order Effecting Release, Barhoumi v. Obama, No. 05-CV-1506, ECF No. 282 (D.D.C. filed Jan.

17, 2017) (“[T]he determination by the Periodic Review Board that he is eligible for transfer

does not give Petitioner standing to challenge his continued detention, nor does it render his



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detention unlawful or otherwise entitle Petitioner to an order effecting release.”). The

government cannot now be heard to claim that the PRB they dismissed earlier in other cases

somehow displaces a mechanism pursuant to domestic law that can help determine Mr. al-

Qahtani’s entitlement to repatriation and attendant habeas relief in this case.

         By refusing to allow the evaluation of Mr. al-Qahtani by a Mixed Medical Commission

and denying him any opportunity to establish his entitlement to repatriation, Respondents

attempt to cut off the path that this Court’s precedent outlined. This Court should compel

Respondents to comply with domestic law as set forth in the Regulation and to establish a Mixed

Medical Commission to examine Mr. al-Qahtani.

         III.   This Court Should Order Mr. al-Qahtani’s Examination by a Mixed Medical
                Commission Pursuant to the All Writs Act

         The All Writs Act grants courts authority to “issue all writs necessary or appropriate in

aid of their respective jurisdictions and agreeable to the usage and principles of law.” 28

U.S.C.A. § 1651. More specifically, it permits this Court to fashion procedures in aid of its

jurisdiction and in order to develop a factual record that would found a decision on the merits of

a petitioner’s habeas claims. See, e.g., Al Odah v. United States, 346 F. Supp. 2d 1, 6 (D.D.C.

2004).

         Mr. al-Qahtani’s request for repatriation is well within the ambit of this Court’s habeas

jurisdiction. See Aamer, 58 F. Supp. 3d at 25 (“Respondents exclaim that Petitioner’s request for

repatriation is substantively different from the ordinary habeas petition. Not so. Petitioner seeks

release pursuant to domestic law (Army Regulation 190-8) and those portions of an international

accord that it incorporates (the Third Geneva Convention).”). This Court has in the past required

the findings of a Mixed Medical Commission prior to exercising its habeas jurisdiction and

ruling on a motion for judgment based on the illness of an imprisoned Guantánamo petitioner.

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See id. at 27 (“Section 3-12 of the Regulation conditions medical repatriation on the

determinations of a Mixed Medical Commission.”).

       By refusing to allow a Mixed Medical Commission, Respondents attempt to effectively

strip this Court of the ability to exercise its habeas jurisdiction and adjudicate an eventual motion

for judgment. Pursuant to the All Writs Act, therefore, this Court should compel Respondents to

allow a Mixed Medical Commission to conduct an examination of Mr. al-Qahtani as a

prerequisite to the Court’s exercise of its habeas jurisdiction in this matter.

       IV.     Mr. al-Qahtani Is Entitled to Injunctive Relief Compelling an Examination
               by a Mixed Medical Commission

       Respondents’ indefinite imprisonment and treatment of Mr. al-Qahtani, as confirmed by

Dr. Keram’s report, have exacerbated his chronic illness and threaten to cause further harm to his

already fragile physical and mental health. The threat of irreparable injury caused by his

indefinite imprisonment entitles Mr. al-Qahtani to relief under Federal Rule of Civil Procedure

65. To avert this irreparable injury, his repatriation is crucial. In order to further confirm his

eligibility for repatriation under domestic law, an examination of Mr. al-Qahtani by a Mixed

Medical Commission is necessary. As such, he is also entitled to injunctive relief compelling

access to a Mixed Medical Commission immediately.

       In considering a petitioner’s request for a preliminary injunction, courts determine

whether or not: (1) the petitioner would suffer irreparable harm absent the preliminary

injunction; (2) the petitioner has a substantial likelihood of success on the merits; (3) the

injunction would substantially injure the opposing party; and (4) the public interest would be

furthered by issuance of the injunction. See Serono Labs v. Shalala, 158 F. 3d 1313, 1317-18

(D.C. Cir. 1998) (citing Washington Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d

841, 842 (D.C. Cir. 1977)). “These factors interrelate on a sliding scale and must be balanced

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against each other.” Id. at 1318. “If the arguments for one factor are particularly strong, an

injunction may issue even if the arguments in other areas are rather weak.” Id. All four of these

factors weigh in Mr. al-Qahtani’s favor.

           A. Mr. al-Qahtani Faces Irreparable Harm Without Examination by a Mixed
              Medical Commission

       Mr. al-Qahtani, whose treatment at the hands of Respondents has significantly harmed

him physically and mentally, faces a great risk of irreparable harm absent an injunction

compelling an examination by a Mixed Medical Commission. Without such an examination, he

may be left unable to further establish his entitlement to repatriation pursuant to domestic law,

and will continue to languish at Guantánamo at grave cost to his health.

       Another case decided in this district has held that “where the health of a…vulnerable

person is at stake, irreparable harm can be established.” Al-Joudi v. Bush, 406 F. Supp. 2d 13, 20

(D.D.C. 2005). The Al-Joudi court further recognized that prisoners at Guantánamo are “indeed

vulnerable to further physical deterioration, and possibly death, by virtue of their custodial status

at Guantánamo and weakened physical condition.” Id.

       Mr. al-Qahtani is in a particularly vulnerable position and his physical and mental health

is at stake, establishing irreparable harm. As Dr. Keram’s extensive report describes, he suffers

from serious medical conditions, including chronic and severe psychiatric symptoms that have

gravely diminished his mental health. Keram Report at 3-5, 7-8. Moreover, his prolonged

detention and abuse have caused him to develop:

       posttraumatic stress disorder (PTSD) as a result of the severely cruel, degrading,
       humiliating, and inhumane treatment he experienced during confinement and
       interrogation while in US custody. … [His] PTSD symptoms include nightmares,
       intrusion, attempts to avoid distressing trauma-related thoughts, feelings, and
       conversations, negative expectations about himself and the world, fear, horror,
       shame, alienation, and difficulty experiencing positive emotions.



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Id. at 7. This is in addition to “hypervigila[nce],” and memory and sleep disorders. Id. “These

symptoms have been present for years and were present at the time of the current evaluation.” Id.

Mr. al-Qahtani’s ability to receive treatment for both the PTSD and his preexisting psychiatric

disorders is impeded by the fact that “[m]edical and mental health staff members were involved

in his interrogations,” id. at 6, making him generally unwilling to trust the medical and

psychiatric staff at Guantánamo.

       Drawing on more than a decade of experience evaluating prisoners at Guantánamo, Dr.

Keram concludes:

       It is my opinion that Mr. al-Qahtani cannot receive effective treatment for his
       current mental health conditions while he remains in US custody at GTMO or
       elsewhere, despite the best efforts of available and competent clinicians. Several
       factors preclude effective treatment. These include the inability to develop long-
       term doctor-patient relationships given the rotation schedule of medical staff, lack
       of trust in the medical and mental health staff due to previous clinician
       involvement in interrogations…, lack of culturally-informed treatment modalities,
       and unavailability of family members to participate in treatment.

Id. at 9; see also Keram Supp. Decl. ¶¶ 5-6; Keram File Rev. Decl. ¶¶ 8-10. Mr. al-Qahtani’s

continued presence at Guantánamo is certain to cause him further irreparable harm. See Keram

Supp. Decl. ¶ 6; Keram File Rev. Decl. ¶¶ 9-10. Absent the preliminary injunction sought herein,

he will be denied the opportunity for direct repatriation afforded under domestic law and will

continue to suffer at Respondents’ hands, leaving him physically and mentally vulnerable and

facing continued and certain irreparable harm at Guantánamo.

           B. Mr. al-Qahtani Is Substantially Likely to Prevail on the Merits

       To properly exercise its habeas jurisdiction in this case and rule on any motion for

judgment on the instant Petition, this Court has required the findings of a Mixed Medical

Commission. See Aamer, 58 F. Supp. 3d at 27 (“Section 3-12 of the Regulation conditions

medical repatriation on the determinations of a Mixed Medical Commission.”); see also Al-

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Warafi v. Obama, 716 F.3d 627, 629 (2013) (“[I]n a habeas proceeding such as this, a detainee

may invoke Army Regulation 190-8 to the extent that the regulation explicitly establishes a

detainee’s entitlement to release from custody.”).

       By refusing to allow a Mixed Medical Commission, Respondents attempt to effectively

strip this Court of the ability to exercise its habeas jurisdiction and adjudicate an eventual motion

for judgment. This Court has already held that the adjudication of a motion for judgment on

these grounds is an appropriate exercise of its habeas jurisdiction. See Aamer, 58 F. Supp. 3d at

25 (“Respondents exclaim that Petitioner’s request for repatriation is substantively different from

the ordinary habeas petition. Not so. Petitioner seeks release pursuant to domestic law (Army

Regulation 190-8) and those portions of an international accord that it incorporates (the Third

Geneva Convention).”). Thus, Mr. al-Qahtani is substantially likely to prevail on the merits.

           C. An Injunction Would Not Substantially Injure the Government

       It is unlikely that Respondents would be unduly burdened if a Mixed Medical

Commission were allowed to examine Mr. al-Qahtani. Access to independent medical experts

has been ordered without unduly burdening Guantánamo authorities or prison staff and there is

no reason this case should be any different. See, e.g., Al-Oshan, 753 F. Supp. 2d 1, 2 (D.D.C.

2010); Zuhair v. Bush, 592 F. Supp. 2d 16, 17 (D.D.C. 2008). In the present case, this Court first

permitted independent medical examination of Mr. al-Qahtani nearly eight years ago, see Order,

ECF No. 189 (Sept. 3, 2009), and Mr. al-Qahtani has met and spoken with Dr. Keram over the

course of two years.

       Indeed, this injunction would be far less burdensome than other orders previously issued

by sibling courts. See Al-Oshan, 753 F. Supp. 2d at 2 (ordering Joint Medical Group to

collaborate with independent medical expert on treatment plan); Zuhair, 592 F. Supp. 2d at 17



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(ordering Joint Detention Group to refrain from restraining petitioner during force feeding and to

change force feeding solution used, while directing Respondents to facilitate physical and mental

health examination of petitioner by independent medical expert). An injunction would not

substantially injure the government.

            D. Respondents Fail to Acknowledge the Public Interest at Stake

        Granting injunctive relief to Mr. al-Qahtani is in the public interest. Establishing a Mixed

Medical Commission to evaluate Mr. al-Qahtani would serve the public interest in justice and the

rule of law by enabling the Court to exercise its habeas jurisdiction, by allowing him the

opportunity to meaningfully challenge his indefinite imprisonment in accordance with domestic

and international law, and by ensuring that Respondents do not disregard domestic law and

judicial decisions at their own convenience.

        The Army Regulation is not a discretionary guideline that Respondents can choose to

ignore. It is domestic U.S. law. This law specifically provides “policy, procedures,

responsibilities for the administration, treatment, employment, and compensation of enemy

prisoners of war…and other detainees in the custody of U.S. Armed Forces.” Army Reg. 190-8,

ch.1, § 8(3).

        In accordance with domestic law, and pursuant to this Court’s ruling, Mr. al-Qahtani

followed the outlined process with exactitude in order to further confirm his entitlement to

repatriation through a Mixed Medical Commission. The government, on the other hand, has

rejected both Mr. al-Qahtani’s formal request for repatriation and his demand to be examined by

a Mixed Medical Commission. See DOJ Letter 2. Despite Mr. al-Qahtani’s medical conditions,

Respondents’ obstructionism ignores domestic law and blocks his pathway to repatriation,

keeping him imprisoned indefinitely.



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       Therefore, the public interest weighs heavily in favor of granting Mr. al-Qahtani the relief

sought herein.

                                        CONCLUSION

       For the reasons stated above, the Court should grant the relief sought in this Motion and

immediately compel Respondents to assist, facilitate, and expedite an examination of

Mohammed al-Qahtani by a Mixed Medical Commission that would further establish his

eligibility for direct repatriation under Army Regulation 190-8.


Dated: August 8, 2017

Respectfully submitted,

______/s/____________________
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MOHAMMED AL-QAHTANI,

       Petitioner,

       v.                                          Case No. 05-CV-1971 (RMC)

DONALD J. TRUMP, et al.,

       Respondents.


        [PROPOSED] ORDER TO PERMIT A MIXED MEDICAL COMMISSION


       IT IS HEREBY ORDERED THAT Respondents shall, forthwith, facilitate a physical

and psychological examination of Petitioner Mohammed al-Qahtani at the U.S. Naval Station in

Guantánamo Bay, Cuba, to be conducted by a Mixed Medical Commission formed pursuant to

Army Regulation 190-8, comprising his most recent and only independent medical examiner, Dr.

Emily Keram, another security-cleared civilian U.S. medical expert, and a medical officer of the

U.S. Army selected by the Department of the Army Headquarters.



Date: _______________

                                            ____________________________
                                            HON. ROSEMARY M. COLLYER
                                            United States District Judge
